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                                                                                  13 APRIL 2020
The Hon. Leo I. Brisbois, Magistrate Judge
United States District Court for the District of Minnesota
417 Gerald W. Heaney United States Courthouse
515 W. First St.
Duluth, Minnesota 5580

Re: Scheffler v. First National Bank of Omaha et al., 19-cv-1751 (D. Minn. 2020)
    Scheffler v. Goerlitz, 20-cv-307 (D. Minn. 2020)

VIA ECF

Dear Magistrate Judge Brisbois:

    As you may recall, I represent Mr. Troy K. Scheffler in the above cases. I write to you,
to inform the Court that the parties have reached a tentative settlement, agreeing on all
material terms, with signed releases, signed stipulations for dismissal, and proposed orders
to follow, for each of the above cases respectively. The parties have commenced
circulation of the settlement and release, having already obtained Plaintiff’s signature;
following the signatures by the respective Defendants, the stipulation for dismissal with
prejudice on the merits with each side bearing own respective costs and proposed order
will follow. The parties request that the Court continue to suspend all deadlines on this
case and place this case in suspense, pending signing of all final releases and stipulations.

                                        Very respectfully,

                                        Peter J. Nickitas (electronically signed)
                                        Peter J. Nickitas, attorney for appellant

cc: Messrs. Jared Goerlitz, Michael Klutho and Patrick Newman, attorneys for defendants
    (via ECF)
    Mr. Troy K. Scheffler
